Case 3:18-cv-00428-DMS-MDD Document 282 Filed 10/15/18 PageID.4155 Page 1 of 14




      1 JULIA ROMANO (CA Bar No. 260857)
        ;romano@kslaw.com
      2 KING & SPALDING LLP
      3 633 West Fifth Street
        Suite 1700
                                                              FILED
      4 Los Angeles, CA 90071                                 OCT la 2018
        Telephone: +1 213 443 4355
      5 Facsimile: +1 213 443 4310
      6 Attorneys for Objector Ms. Lesbi
      7 Martinez-Martinez

      8 [Additional Counsel Listed On Second Page]
      9                       UNITED STATES DISTRICT COURT
     10                    SOUTHERN DISTRICT OF CALIFORNIA
     11
        M.M.M., on behalf of his minor child,    Case No. 3: 18-cv-1832-DMS
     12 J.M.A., et al.
     13               Plaintiffs,
     14
               v.
     15
        Jefferson Beauregard Sessions, III,
     16 Attorney General of the United States,
        et al.,
     17                Defendants.
     18
        Ms. L, et al.,                           Case No. 18-cv-00428-DMS-MDD
     19
                       Plaintiffs,               CLASS ACTION
     20
                v.                               OBJECTION OF MS. LESBI
     21
                                                 MARTINEZ-MARTINEZ TO THE
        U.S. Immigration and Customs             OCTOBER 5, 2018 SETTLEMENT
     22 Enforcement, et al.,
                                                 AGREEMENT
     23
                    · Defendants.
     24
     25
     26
     27
     28
          OBJECTION OF MS. LESBI                              Case No. 18-cv-00428-DMS-MDD
          MARTINEZ-MARTINEZ
Case 3:18-cv-00428-DMS-MDD Document 282 Filed 10/15/18 PageID.4156 Page 2 of 14




      l MARTIN M. MCNERNEY (Pro Hae Vice to be filed)
        mmcnerney@kslaw.com
      2 KING & SPALDING LLP
        1700 Pennsylvania Ave, NW
      3 Suite 200
        Washington, D.C. 20006-4707
      4 Telephone: +1 202 737 0500
        Facsimile: +1 202 626 3737
      5
      6
      7
      8
      9
     10
     11
     12
     13
     14
     15
     16
     17
     18
     19
     20
     21
     22
     23
     24
     25
     26
     27
     28
          OBJECTION OF MS. LESBI           ii            Case No. 18-cv-00428-DMS-MDD
          MARTINEZ-MARTINEZ
Case 3:18-cv-00428-DMS-MDD Document 282 Filed 10/15/18 PageID.4157 Page 3 of 14




      1         Pursuant to the Court's October 5, 2018 Order preliminarily approving the
      2 class settlement in this action (the "Settlement"), Ms. Lesbi Martinez-Martinez
      3 ("Ms. Martinez"), a citizen of Honduras seeking asylum in the United States and
      4 presently detained at the Port Isabel Detention Center ("PIDC"), files this objection
      5 seeking clarification that she is included within the definition of the plaintiff class
      6 in the Settlement. The grounds for this objection are set forth below.
      7 I.      INTRODUCTION
      8         Ms. Martinez is 30 years old and is the duly appointed legal guardian of her
      9 15 year old sister, Y.M. She has lived with Y.M. since her birth and has been
     10 Y.M.'s legal guardian and primary care giver since their mother died in 2016.
     11 Copies of official documents from the Honduran government appointing Ms.
     12 Martinez legal guardian for Y.M, together with certified translations, are
     13 collectively attached to this Objection as Exhibit A. See Exhibit A at 24-35.
     14         Ms. Martinez and Y.M. fled Honduras to escape threats to them of physical
     15 violence and death and crossed the U.S. border in June 2018. Pursuant to the
     16 Government's "zero tolerance" policy, Ms. Martinez and Y.M. were separated
     17 from one another shortly after they crossed the U.S. border. Ms. Martinez was
     18 detained at the Port Isabel Detention Center in Texas while her daughter, Y.M.,
     19 was placed in ORR custody. Several weeks after she was detained, on or about
     20 June 21, 2018, Y.M. was released from ORR custody to the care ofa sponsor.
     21         The separation from her daughter caused extreme emotional trauma for Ms.
     22 Martinez, as would be the case with any parent. Ms. Martinez was in this
     23 traumatized state when she was given her credible fear interview as part of the
     24 asylum process, which resulted in a negative finding by the Asylum Officer.
     25         On September 26, 2018, Ms. Martinez filed a lawsuit in United States
     26 District Court for the District of Columbia seeking, among other things, a de novo
     27 credible fear interview conducted in good faith, which is one element of the relief
     28
          OBJECTION OF MS. LESBI                   1                Case No. 18-cv-00428-DMS-MDD
          MARTINEZ-MARTINEZ
Case 3:18-cv-00428-DMS-MDD Document 282 Filed 10/15/18 PageID.4158 Page 4 of 14




      1 granted to similarly situated detained immigrants in the Settlement. A copy of Ms.
      2 Martinez' complaint in her District of Columbia action is attached as Exhibit A to
      3 this Objection. In her complaint, Ms. Martinez alleges that because she was
      4 emotionally traumatized by the Government's forced family separation policy at
      5 the time her initial credible fear interview was conducted, she was denied her due
      6 process rights guaranteed by the Fifth and Fourteenth Amendments to the U.S.
      7 Constitution.
      8         There are numerous scholarly articles that describe the devastating
      9 emotional harm caused by family separations. See, e.g., Gaiane Nazarian,
     10 "Separation Due to Deportation: Psychological, Emotional, and Economic Affect
     11 on Children of Deported Parents," Cal. State San Bernardino (2014). The
     12 Settlement in this action is a tacit acknowledgement by Defendants that family
     13 separations cause significant emotional damage to all concerned. The de nova
     14 credible fear interview provided for in the Settlement is obviously based on the
     15 understanding that a credible fear interview administered while the detainee was
     16 emotionally traumatized from being separated from their child is inherently unfair
     17 and a denial of due process.
     18         The Settlement calls for a de nova credible fear interview for certain
     19 immigrant "parents," a term that is not defined in the Settlement or in the original
     20 class certification order from this Court. See Tentative Settlement Agreement,
     21 Doc. 247 at 32. The class certification order and the Settlement expressly exclude
     22 certain parents from the class, such as those with criminal histories or with
     23 communicable diseases, but do not exclude legal guardians or any other type of
     24 parent. As shown below, Ms. Martinez is properly included within the plaintiff
     25 class and should be afforded the relief provided in the Settlement.
     26 I I I
     27 I I I
     28
          OBJECTION OF MS. LESBI                  2                Case No. 18-cv-00428-DMS-MDD
          MARTINEZ-MARTINEZ
Case 3:18-cv-00428-DMS-MDD Document 282 Filed 10/15/18 PageID.4159 Page 5 of 14




       1 II.    MS. MARTINEZ SHOULD BE IN THE SETTLEMENT CLASS
      2         A.    Legal Guardians Should Be Treated The Same As Biological
      3               Parents Under The Settlement
      4         As shown in the documents attached to this Objection as Exhibit A, Ms.
      5 Martinez is the official legal guardian of her minor sister, Y.M., and has been her
      6 guardian since their mother died in 2016. Counsel for Ms. Martinez have engaged
      7 with counsel for the Defendants in Ms. Martinez's District of Columbia action
      8 (some of whom have also appeared as defense counsel in this case) seeking their
      9 agreement that official legal guardians such as Ms. Martinez should be within the
     10 scope of the Settlement and, therefore, entitled to a de nova credible fear interview.
     11 Defendants will not agree that Ms. Martinez is within the definition of"parent" in
     12 the Settlement, and claim that the term "parent" refers only to biological parents,
     13 and not legal guardians such as Ms. Martinez. However, Defendants' position is
     14 not only inconsistent with the meaning and spirit of this Court's class certification
     15 order, the Settlement Agreement and Defendants' arguments before this Court, it is
     16 inconsistent with federal law and Defendants' own immigration policy.
     17         As an initial matter, this Court's June 26, 2018 order certified the following
     18 class pursuant to Federal Rule of Civil Procedure 23(b)(2) for purposes of
     19 Plaintiffs' substantive due process claim:
     20               All adult parents who enter the United States at or
                      between designated ports of entry who ( 1) have been, are,
     21
                      or will be detained in immigration custody by the DHS,
     22               and (2) have a minor child who is or will be separated
                      from them by DHS and detained in ORR custody, ORR
     23
                      foster care, or DHS custody, absent a determination that
     24               the parent is unfit or presents a danger to the child."
     25 Doc. 82 at 17 (emphasis added).
     26        This Court provided only one modification to the definition of parent, for
     27 purposes of determining class members. Specifically, the Court held that the class
     28
          OBJECTION OF MS. LESBI                   3                Case No. 18-cv-00428-DMS-MDD
          MARTINEZ-MARTINEZ
Case 3:18-cv-00428-DMS-MDD Document 282 Filed 10/15/18 PageID.4160 Page 6 of 14




       1 "does not include migrant parents with criminal history or communicable disease,
      2 or those who are in the interior of the United States or subject to the [President's
      3 June 20, 2018 Executive Order which reversed the administrations family
      4 separation policy]." Pursuant to this Executive Order, the Secretary of Homeland
      5 Security is prohibited from "detain[ing] an alien family together when there is a
      6 concern that detention of an alien child with the child's alien parent would pose a
      7 risk to the child's welfare." Ms. Martinez's and her daughter's forced separation
      8 fell within the class definition. As of the date of the Court's June 26 class
      9 certification order, Ms. Martinez "ha[d] been ... detained in immigration custody by
     10 the DHS, ... [she had] a minor child who .. [wa]s separated from [her] by DHS and
     11   [had been] detained in ORR custody, absent a determination that [she was] ... unfit
     12 or present[ed] a danger to [her] child." See Order Granting In Part Plaintiffs'
     13 Motion for Class Certification (Doc. 82) at 17. The proposed Settlement
     14 Agreement largely tracks the certified class definition, referencing "all adult alien
     15 parents who entered the United States at. .. designated ports of entry with their
     16 child(ren), and ... before the effective date ofth[e settlement] agreement. ..were
     17 detained in immigration custody by DHS" and "ha[d] a child who was or is
     18 separated from them by DHS and, ... was housed in ORR custody ... , absent a
     19 determination that the parent is unfit or presents a danger to the child." As with the
     20 certified class definition, the Settlement Agreement expressly excludes from the
     21   class alien parents with criminal histories or a communicable disease. See Doc.
     22 247 at 32. Nothing in the terms of the original class definition or in the proposed
     23 agreement excludes legal guardians.
     24         In an earlier status conference in this case, the Government suggested that
     25 non-biological parents could properly be considered to be within the class
     26 definition. During the July 61h status conference, in discussing the difficulties that
     27 the Government would face in establishing "parentage," and requesting "some
     28
          OBJECTION OF MS. LESBI                   4                Case No. 18-cv-00428-DMS-MDD
          MARTINEZ-MARTINEZ
Case 3:18-cv-00428-DMS-MDD Document 282 Filed 10/15/18 PageID.4161 Page 7 of 14




      1 relief to allow for that process" given "the inherent delays" in establishing such
      2 parentage, the Government said "[t]here are situations, for example in a
      3 nonbiological parent situation, where the -- where there may need to be additional
      4 review of paperwork, perhaps communications with the consulates." Doc. 93 at 12.
      5 The Court noted that " ... the class is defined to include parents ... arguably that
      6 could mean adoptive parents, nonbiological." Id.
      7         Further, federal law has defined legal guardianships as "a judicially-created
      8 relationship between child and caretaker which is intended to be permanent and
      9 self-sustaining as evidenced by the transfer to the caretaker of the following
     10 parental rights with respect to the child: protection, education, care and control of
     11 the person, custody of the person, and decision-making." 45 C.F.R. §
     12   1355.20(a)(2). The law recognizes that the strong emotional and legal bonds
     13 between legal guardians and their minor charges are the same as those between
     14 parents and their biological children, thereby granting legal guardians equal or
     15 substantially similar rights. For example, when consent is required for treatment of
     16 substance abuse by a minor, consent by either a parent or guardian is acceptable
     17 under federally funded programs. 42 C.F.R § 2.14(b). Similarly, under the
     18 regulations implementing the Health Insurance Portability and Accountability Act,
     19 parents 9 and guardians are granted equal authority to make decisions relating to
     20 the access to, and release of, protected health information ofunemancipated
     21   minors. 45 C.F.R. § 164.502(g)(3).
     22         Immigration statutes and policy guidance also treat parents and legal
     23   guardians interchangeably, while distinguishing them from individuals with a more
     24 distant connection to the minor child. For example, a guidance issued by the U.S.
     25 Immigration and Customs Enforcement on the "Detention and Removal of Alien
     26 Parents or Legal Guardians" makes no differentiation between the two (Exhibit B
     27 hereto). Similarly, the Office of Refugee Resettlement ("ORR"), in its guidance
     28
          OBJECTION OF MS. LESBI                   5                 Case No. 18-cv-00428-DMS-MDD
          MARTINEZ-MARTINEZ
Case 3:18-cv-00428-DMS-MDD Document 282 Filed 10/15/18 PageID.4162 Page 8 of 14




       1 concerning unaccompanied minors, treats parents and legal guardians as similarly
      2 situated and distinguishable from other parties (Exhibit C hereto). Not only does
      3 ORR group parents and legal guardians into "Category 1" for purposes or release
      4 and the type of background check required but it also "gives preference to a parent
      5 or legal guardian when determining release plans." See U.S. Dep't of Health &
      6 Human Services, Office of Refugee Resettlement, Children Entering the United
      7 States Unaccompanied, at§§ 2.2.1, 2.5.1 (Jan. 30, 2015) (Exhibit C).
      8         Moreover, federal law defines "unaccompanied alien child" to be a minor
      9 child without lawful immigration status in the United States who has "no parent or
     10 legal guardian ... available to provide care and physical custody." 6 U.S.C. §
     11 279(g)(2). In Ms. Martinez's District of Columbia action, the Defendants rely on
     12 this same definition to argue that the transfer of Ms. Martinez's minor child to
     13 ORR custody was mandated by a federal anti-trafficking law because she was an
     14 unaccompanied alien child with "no parent or legal guardian in the United States
     15 [who was] available to provide care and physical custody." Id. Defendants
     16 forcibly separated Ms. Martinez's minor child from her, in the same manner in
     17 which they separated minor children from their parents in this case, and then
     18 deemed Ms. Martinez's child to be an unaccompanied minor because her legal
     19 guardian was no longer available to provide care and physical custody.
     20         Defendants' position with respect to the treatment of legal guardians is
     21   inconsistent with the underlying zero tolerance policy which resulted in these
     22 forced separations. On June 15, 2018, as the extent of the administration's family
     23 separation policy became evident and the national outrage grew, the Department of
     24 Homeland Security issued responses to frequently asked questions regarding the
     25 administration's zero tolerance policy. In that document, DHS considers legal
     26 guardian "parents" for purposes of the zero tolerance policy. In response to the
     27 question "Why are Parents Being Separated from Their Children," HHS responded
     28
          OBJECTION OF MS. LESBI                  6                Case No. 18-cv-00428-DMS-MDD
          MARTINEZ-MARTINEZ
Case 3:18-cv-00428-DMS-MDD Document 282 Filed 10/15/18 PageID.4163 Page 9 of 14
                                                               ('

      1 that DHS "may separate a parent or legal guardian from his or her child for several
      2 reasons ... [including] if a parent or legal guardian is referred for criminal
      3 prosecution." Similarly in response to the question "How can I communicate with
      4 my child?" HHS responded "for parents or legal guardians detained in ICE
      5 custody, ICE and HHS will work to schedule regular communication with their
      6 children in HHS custody .... " (See Exhibit D) (emphasis added).
      7         The similar treatment of parents and legal guardians is not limited to federal
      8 law or policy but is evident in state law as well. For example, attached as Exhibit
      9 E to this Memorandum is a summary of the rights and obligations of legal
     10 guardians published by the Judicial Branch of the California State Government. In
     11 that summary, the California Judicial Branch states that legal guardians "have the
     12 same legal responsibilities as a parent" in that legal guardians must provide the
     13 child with basic needs such as housing, food, and medical care, and also decide
     14 where the child lives and attends school. Legal guardians are also responsible for
     15 losses or damages caused by their children for whom they are guardians. These
     16 responsibilities forge bonds between legal guardians and their de facto children
     17 that are just as strong as those between biological parents and children. The
     18 California Judicial Branch succinctly advises potential legal guardians that "[yJou
     19 will be like the child's parent." (Ex. E, at p. 1).
     20         In sum, a fair reading of this Court's narrowly defined class would include
     21 Ms. Martinez and her daughter who were forcibly separated by the Government
     22 and detained in separate facilities, causing severe emotional trauma to both parent
     23 and child. Such a reading is consistent with how legal guardians have been viewed
     24 under federal law and consistent with Defendants' own immigration policies.
     25 111
     26   111
     27 111
     28
          OBJECTION OF MS. LESBI                    7               Case No. 18-cv-00428-DMS-MDD
          MARTINEZ-MARTINEZ
Case 3:18-cv-00428-DMS-MDD Document 282 Filed 10/15/18 PageID.4164 Page 10 of 14




       1         B.     None of the Other Criteria In Settlement Class Membership
       2                Should Keep Ms. Martinez Out Of The Settlement Class
       3         Although the parties' proposed Settlement largely tracks this Court's June
       4 26, 2018 class definition, it departs from that definition in two key respects. First,
       5 the Settlement includes a requirement that the minor child was separated from
       6 his/her adult parent be housed in ORR custody, ORR foster care, or DHS custody
       7 "on or after June 26, 2018," the date of this Court's class certification order.
       8 Second, the proposed Settlement requires that the child and his or her parent "have
       9 been continuously present within the United States since June 26, 2018[.]" Doc.
      10 247 at 32. Ms. Martinez and Y.M. have been continuously in the United States
      11   since they were apprehended at the border in early June and thus the second
      12 requirement is satisfied. However, following separation from her mother and
      13 detention in ORR custody for several weeks, Y.M. was released to the care of a
      14 sponsor before the June 26, 2018 date identified in the Settlement.
      15         During the July 6, 2018 status conference following this Court's order
      16 granting class certification, the Court stated the following with regard to whether
      17 or not a date in the past was necessary to limit the reach of the class definition.
      18               I am not sure a date is needed because the class is self-
                       defining in so many ways. So I am reluctant, absent
      19
                       further briefing or discussion, simply to pick a date. It
     20                seems to me, given the class definition, that you are
                       going to know the individuals. And it is a finite
     21
                       number .. .! don't know whether fashioning a date by
     22                which the class goes back in time is warranted."
Case 3:18-cv-00428-DMS-MDD Document 282 Filed 10/15/18 PageID.4165 Page 11 of 14




       1         Further, in response to a concern raised by the Government that the class

       2 definition could potentialiy include the children who had been ORR custody for
       3 years and no parent has claimed them, lead counsel for the ACLU stated the
       4
           following:
       5                [T]he class necessarily has to go back before the
                        amended complaint. The government counsel brought up
       6
                        a case where maybe the child has been in O.R.R. for
       7                years and the parent hasn't come forward. That is not a
                        separated parent. That may be a child who came by
       8
                        himself and a parent who is living in the U.S. those are
       9                obviously not part of the class. I just think it would be
      10                artificial to have a prior deadline.

      11   Doc. 93 at 49-50.
      12         As lead counsel for the ACLU noted, the date on which a child forcibly
      13   separated from her parent was released from ORR custody is arbitrary. The
      14 definition of the class in the Court's June 26th order contains no limitation based on
      15 when the separated child was released from ORR custody. Thus, Ms. Martinez
      16 and her daughter fall squarely within the parameters of the class.
      17 III.    CONCLUSION
      18         WHEREFORE, Ms. Martinez respectfully requests that this Court confirm
      19 that she is within the plaintiff class for purposes of the Settlement.

      20                                          Respectfully submitted,
      21                                          Isl Julia Romano
                                                  JULIA ROMANO (CA Bar No. 260857)
      22
                                                  jromano@kslaw.com
      23                                          KING & SPALDING LLP
                                                  633 West Fifth Street
      24                                           Suite 1700
                                                  Los Angeles, CA 90071
      25                                           Telephone: + 1 213 443 4355
      26                                          Facsimile: +1213 443 4310

      27
      28
            OBJECTION OF MS. LESBI                  9                Case No. 18-cv-00428-DMS-MDD
            MARTINEZ-MARTINEZ
Case 3:18-cv-00428-DMS-MDD Document 282 Filed 10/15/18 PageID.4166 Page 12 of 14




                                          MARTIN M. MCNERNEY (Pro Hae Vice
                                          to be filed)
                                          mmcnerney@kslaw.com
                                          KING & SPALDING LLP
                                          1700 Pennsylvania Ave, NW
                                          Suite 200
                                          Washington, D.C. 20006-4707
                                          Telephone: + 1 202 737 0500
                                          Facsimile: +1 202 626 3737

                                          Attorneys for Objector Ms. Lesbi Martinez-
                                          Martinez




                                           10              Case No. 18-cv-00428-DMS-MDD
Case 3:18-cv-00428-DMS-MDD Document 282 Filed 10/15/18 PageID.4167 Page 13 of 14
                            ('

       1                                   CERTIFICATE OF SERVICE

       2          I hereby certify that I have this day served the foregoing on all counsel of record by first-
       3   class mail.
       4
       5                                                 Isl Julia Romano

       6                                                 Julia Romano

       7
       8   Dated: October 15, 2018
       9
      10
      11
      12
      13
      14
      15
      16
      17
      18
      19
      20
      21
      22
      23
      24
      25
      26
      27
      28
            OBJECTION OF MS. LESBI                         11                   Case No. 18-cv-00428-DMS-MDD
            MARTINEZ-MARTINEZ
Case 3:18-cv-00428-DMS-MDD Document 282 Filed 10/15/18 PageID.4168 Page 14 of 14




                                     TABLE OF CONTENTS



    Exhibit A ................................................................................. 13

    Exhibit B ................................................................................. 264

    Exhibit C ................................................................................. 271

    Exhibit D ................................................................................. 294

    Exhibit E ................................................................................. 298




                                                Page 12
